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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF LOUISIANA

UNITED STATES OF AMERICA                                              CRIMINAL ACTION

VERSUS                                                                NO. 09-0260

NEALWARD TAYLOR                                                       SECTION: “C”

                                     ORDER AND REASONS

       Before this Court is an Objection to and Request that the June 20, 2013 §2255 Not Be

Counted as Defendant's First Such Motion under 28 U.S.C. §2255, brought by the defendant,

Nealward Taylor. Rec. Doc. 223. Having considered the record and the law, the Court has

determined that the motion is DENIED for the following reasons.

                                        I. BACKGROUND

       On March 31, 2010, the defendant pled guilty to conspiracy to distribute and possess with

the intent to distribute cocaine base and distribution of cocaine base. Rec. Doc. 49. He was

sentenced to 156 months imprisonment on December 15, 2010. Rec. Doc. 87. The defendant's

attorney filed a Motion to Vacate, Set Aside and Correct Sentence pursuant to 28 U.S.C. §2255

on June 20, 2013. Rec. Doc. 203. The §2255 petition was subsequently denied. Rec. Doc. 211.

On May 19, 2014, the defendant filed the motion at issue. Rec. Doc. 223. The motion alleges that

the previously filed §2255 petition was neither signed by the defendant nor by his attorney, and

that the defendant did not receive prior notice that the petition was being filed. Id. at 2-3. The

defendant also alleges that the petition did not conform with procedural requirements because it

did not "substantially follow" the standard form for a §2255 petition. Id. The defendants asserts

that his attorney filed the §2255 petition with the intent to deprive the defendant of the

opportunity to file a second habeas petition and that his attorney acted "in collusion with the U.S.

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government."Id. at 3.

                                       II. LAW AND ANALYSIS

        Allegations from a pro se complaint are held to a less stringent standard than formal

pleadings drafted by lawyers, and a district court should treat a pro se plaintiff with appropriate

leniency. Husley v. State of Tex., 929 F.2d 168, 171 (5th Cir.1991). Therefore, this Court will

construe the defendant's objections to the §2255 petition as a motion for leave to file a second

petition for writ of habeas corpus.

        Article III of the Constitution provides that federal courts can only consider the merits of a case

when the case presents an "actual controversy." Steffel v. Thompson, 415 U.S. 452, 458 (1974). The

doctrines of standing and ripeness are derived from this requirement. Allen v. Wright, 468 U.S. 737, 750

(1984). To have standing, a plaintiff must show that he "has suffered, or imminently will suffer, a

concrete and particularized injury-in-fact." Houston Chronicle Publ'g Co. v. City of League City, Tex.,

488 F.3d. 613, 617 (5th Cir.2007). An injury in fact must be "actual or imminent" and cannot be

"conjectural or hypothetical." Lujan v. Defenders of Wildlife, 504 U.S. 555, 560 (1992). The doctrine of

ripeness, which is closely related to standing, asks the question "whether the harm asserted has matured

sufficiently to warrant judicial intervention." Warth v. Seldin, 422 U.S. 490, 498 (1975). Like standing, a

case lacks ripeness "when the case is abstract or hypothetical." Monk v. Huston, 340 F.3d 279, 282 (5th

Cir.2003).

        In the instant motion, the defendant requests relief "if a future change in law renders Taylor

eligible for habeas relief" so that the previously filed habeas petition will not" be counted as his first such

motion..." The defendant's assertion that his attorney did not seek his consent before filing a habeas

motion on his behalf is a serious allegation that may entitle the defendant to future relief. However, the

defendant asks for relief now in the event that a change in law gives the him the chance to file a second

habeas motion. The defendant's motion is conjectural and hypothetical by its very nature. This Court will


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not decide the merits of the defendant's motion because the defendant lacks standing and because the

motion is not ripe for adjudication.

        Accordingly,

        IT IS ORDERED that the defendant's Objection to and Request that the June 20, 2013

§2255 Not Be Counted as Defendant's First Such Motion under 28 U.S.C. §2255 is DENIED.

Rec. Doc. 223.



        New Orleans, Louisiana, this 16th day of June, 2014.



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                                                        HELEN G. BERRIGAN
                                                        UNITED STATES DISTRICT JUDGE




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